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 4
     Entered on Docket
 5___________________________________________________________________
      December 19, 2011

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     Counsel for Debtor and Debtor-in-Possession
13

14
                              UNITED STATES BANKRUPTCY COURT
15
                                   FOR THE DISTRICT OF NEVADA
16

17   In re:                                        Case No. BK-11-52649

18   SHENGDATECH, INC.,                            Chapter 11

19                       Debtor.
                                                   ORDER PURSUANT TO 11 U.S.C. §
20
                                                   1121(d) EXTENDING THE EXCLUSIVE
21                                                 PERIODS WITHIN WHICH TO FILE A
                                                   CHAPTER 11 PLAN AND SOLICIT
22                                                 VOTES ON SUCH PLAN

23                                                 Hearing Date: December 14, 2011
24
                                                   Hearing Time: 10:00 a.m.
25

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 1              Upon the motion (the “Motion”)1 of ShengdaTech, Inc. (the “Debtor”), as debtor and debtor-
 2   in-possession in the above-captioned chapter 11 case (the “Chapter 11 Case”), for entry of an order,
 3   pursuant to section 1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), extending
 4   the periods during which the Debtor has the exclusive right to file a Chapter 11 plan and solicit votes
 5   on such plan (the “Exclusive Periods”); and the Court having jurisdiction to consider the Motion and
 6   the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and this being a core proceeding
 7   pursuant to 28 U.S.C. § 157(b)(2)(A) and (O); and venue being proper before this Court pursuant to
 8   28 U.S.C. § 1408; and it appearing that notice of the Motion was good and sufficient under the
 9   circumstances and that no other or further notice be given; the Court having the authority to grant the
10   relief requested and such relief is just; and the Court having found that the relief requested in the
11   Motion is in the best interests of the Debtor, its creditors and all parties in interest,
12              NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
13                     1.         The Motion is GRANTED.
14                     2.         The period during which the Debtor shall have the exclusive right to file a
15   Chapter 11 plan is extended to and including March 19, 2012.
16                     3.         The period during which the Debtor shall have the exclusive right to solicit
17   votes to accept such plan is extended to and including June 14, 2012.
18                     4.         This Order is without prejudice to the Debtor’s ability to seek further extension
19   of the Exclusive Periods, subject to the requirements of the Bankruptcy Code.
20                     5.         The Debtor is authorized to take all actions necessary to effectuate the relief
21   granted pursuant to this Order in accordance with the Motion.
22                     6.         The terms and conditions of this Order shall be immediately effective and
23   enforceable upon its entry.
24   ///
25   ///
26   ///
27   ///
28   1
         Capitalized terms used herein, but otherwise undefined, shall have the meaning ascribed to them in the Motion.

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 1                  7.     This Court retains jurisdiction with respect to all matters arising from or
 2   related to the implementation and interpretation of this Order.
 3   RESPECTFULLY PREPARED AND SUBMITTED BY:
 4
     /s/ Bob L . Olson
 5   BOB L. OLSON, ESQ.
     Nevada Bar No. 3783
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10   and

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17   Counsel for Debtor and Debtor-in-Possession

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                CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
 1

 2       In accordance with Local Rule 9021, counsel submitting this document certifies that the
 3   order accurately reflects the court’s ruling and that (check one):
 4
                        The Court has waived the requirement of approval under LR 9021.
 5
                        This is a chapter 7 or 13 case, and either with the motion, or at the
 6                      hearing, I have delivered a copy of this proposed order to all counsel
                        who appeared at the hearing, any unrepresented parties who appeared
 7                      at the hearing, and each has approved or disapproved the order, or
 8                      failed to respond, as indicated below:

 9                      This is a chapter 9, 11, or 15 case, and I have delivered a copy of this
                        proposed order to all counsel who appeared at the hearing, any
10                      unrepresented parties who appeared at the hearing, and each has
                        approved or disapproved the order, or failed to respond, as indicated
11                      below:
12
                        CHRISTOPHER DONOHO and CATHERINE YU, on behalf of the
13                      CREDITORS’ COMMITTEE -- NO RESPONSE

14                      ROBERT KINAS, on behalf of the CREDITORS’ COMMITTEE --
                        NO RESPONSE
15

16                      JOHN K. LYONS and FRANCES KAO, on behalf of the SPECIAL
                        COMMITTEE OF THE BOARD -- NO RESPONSE
17
                        JENNIFER SMITH, on behalf of the SPECIAL COMMITTEE OF
18                      THE BOARD -- NO RESPONSE
19                      STEVE DOLLAR, on behalf of the INDEPENDENT MEMBERS OF
20                      THE BOARD -- NO RESPONSE

21                      WILLIAM COSSITT, on behalf of the OFFICE OF THE UNITED
                        STATES TRUSTEE -- NO RESPONSE
22
                        I certify that I have served a copy of this order with the motion, and no
23
                        parties appeared or filed written objections.
24

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                                                       ###
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